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U.S. Department of Justice

Criminal Division
Offlce of Enforcement Operations
Intemational Prisoner Transfer Unit

 

 

Washingtan, D C. 20530

Chris Hill, Director my r r '
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Instltutlonal Reintegratlon Operatlons ‘ '

Correctional Service of Canada

340 Laurier Avenue West

Ottawa, Ontario KlA 0P9

Canada

Re: Matthew David Sluss, Reg. No. 52455-037
Denial of Request to Transfer to Canada

Dear Mr. Hill:

After considering all of the appropriate factors in this transfer application, the United
States has denied the request to transfer to Canada. The prisoner is currently incarcerated at the
Petersburg Medium Federal Correctional Institution, Petersburg, Virginia. The United States
denied the transfer application because of the seriousness of the offense, because the applicant
has become a domiciliary of the United States, because the prisoner is a poor candidate due to his
criminal history and because the prisoner has insufficient contacts with the receiving country.

There is no administrative appeal from this decision. The prisoner may reapply two years
from the date of this letter, at which time, the United States will review the information already
available, as well as any new information that the prisoner provides. If the prisoner believes that
the circumstances relating to the denial of the transfer application have changed significantly, the
prisoner may write to the Department of Justice to seek a reconsideration of the transfer decision
earlier than two years from the date of this letter. Unless the prisoner is able to show that the
reasons supporting the denial of his transfer application have changed substantially, it is unlikely
that the United States will change its decision.

Sincerely,

Paula A. Wolff, Chief
Intemational Prisoner Transfer Unit

cc: He'lene Bouchard, Embassy of Canada, Washington, D.C.
Michael Harris, F ederal Bureau of Prisons, Washington, D.C.
l/Matthew David Sluss

